                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION
                             Consolidated Civil Action

RALEIGH WAKE CITIZENS
ASSOCIATION, et al.

                              Plaintiffs,

v.                                                                 No. 5:15-cv-156

WAKE COUNTY BOARD
OF ELECTIONS,

                              Defendant.



CALLA WRIGHT, et al.,

                              Plaintiffs,

v.                                                                No. 5:13-cv-607

THE STATE OF NORTH CAROLINA,
et al.,

                              Defendants.


                                                     ORDER

       Upon this Court's thorough review of the Consent Motion to Extend the Deadlines

Related to Motions for Attorneys' Fees and Costs, and after full consideration of all matters

brought before the Court regarding the Motion, for good cause shown it is hereby ordered that:

       1.      The Consent Motion is GRANTED.

       2.      Plaintiffs' deadline for filing all documents related to attorneys' fees and costs

               (taxable and nontaxable) is extended to October 8, 2016, which is thirty days after

               September 8, 2016, the last day to appeal the August 9, 2016 Order of this court.




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        3.      If either party files or is contemplating a petition for writ of certiorari, a party has

                leave to file an appropriate motion for a further extension of time in which to file

                or amend motions related to attorneys' fees and costs until thirty days after the

                U.S. Supreme Court rules on the petition.

It is so ordered.




Date




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